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                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE


         In re:                                                           Chapter 11

         RM Wind-Down Holdco LLC, et al.1                                 Case No. 18-11795 (MFW)

                              Debtors.                                    (Jointly Administered)



                             NOTICE OF WITHDRAWAL OF APPEARANCE OF
                           CHRISTINA M. CRAIGE AND ARIELLA THAL SIMONDS

                    PLEASE TAKE NOTICE that Christina M. Craige and Ariella Thal Simonds hereby

         withdraw their appearance as counsel of record for RM Wind-Down Holdco LLC and its

         affiliates (collectively, the “Debtors”) in the above-captioned cases (collectively, the “Chapter 11

         Cases”), and request that they be deleted from the CM/ECF electronic notification service,

         official mailing matrix and other service lists in these Chapter 11 Cases. The law firms of Sidley

         Austin LLP and Young Conaway Stargatt & Taylor, LLP, and their attorneys of record, other

         than Christina M. Craige and Ariella Thal Simonds, continue to represent the Debtors and hereby

         request that all notices given or required to be served in these Chapter 11 Cases continue to be

         given to and served to such attorneys of record.




         1
           The Debtors in these Chapter 11 Cases, along with the last four digits of each of the Debtors’ respective federal tax
         identification numbers, are as follows: RM Wind-Down Holdco LLC (f/k/a RM Holdco LLC) (6847); RM Wind-
         Down Opco LLC (f/k/a RM Opco LLC) (7122); RM Wind-Down HQ LLC (f/k/a RM HQ LLC) (8615); RM Wind-
         Down Chevys LLC (f/k/a RM Chevys LLC) (N/A); RM Wind-Down Acapulco LLC (f/k/a RM Acapulco LLC)
         (N/A); and RM Wind-Down El Torito LLC (f/k/a RM El Torito LLC) (N/A).
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                                               -and-

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                                      POSSESSION




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